,/1'44 (Rev. 0/13/16)      Case: 1:16-cv-10497 Document #: 2 Filed:SHEET
                                                  CIVIL COVER         11/10/16 Page 1 of 2 PageID #:16
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
    AMIT PATEL, a former shareholder of Devesh, Inc., a dissolved Illinois corporation                          CBRE, INC., a Delaware corporation



   (b) County of Residence of First Listed Plaintiff          Cook County, Illinois                             County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)

       Amit Patel (pro se), 12821 S. Division Street, Blue Island, IL 60406. Telephone:                         Charles E. Harper and Christopher J. Zdarsky, Quarles & Brady LLP, 300 North
       (708) 969-4894.                                                                                          LaSalle Street, Suite 4000, Chicago, IL 60654. Telephone: (312) 715-5000.


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                           and One Box for Defendant)
   1     U.S. Government              3 Federal Question                                                                             PTF         DEF                                            PTF       DEF
           Plaintiff                      (U.S. Government Not a Party)                               Citizen of This State             1              1    Incorporated or Principal Place          4      4
                                                                                                                                                              of Business In This State

   2     U.S. Government              4 Diversity                                                     Citizen of Another State              2          2    Incorporated and Principal Place         5       5
           Defendant                     (Indicate Citizenship of Parties in Item III)                                                                         of Business In Another State

                                                                                                      Citizen or Subject of a               3          3    Foreign Nation                           6       6
                                                                                                        Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
            CONTRACT                                         TORTS                                       FORFEITURE/PENALTY                         BANKRUPTCY                       OTHER STATUTES
   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY                    625 Drug Related Seizure               422 Appeal 28 USC 158              375 False Claims Act
   120 Marine                          310 Airplane                   365 Personal Injury -                  of Property 21 USC 881             423 Withdrawal                     376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product               Product Liability              690 Other                                  28 USC 157                         3729 (a))
   140 Negotiable Instrument                Liability                 367 Health Care/                                                                                             400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &               Pharmaceutical                                                        PROPERTY RIGHTS                    410 Antitrust
       & Enforcement of Judgment            Slander                       Personal Injury                                                       820 Copyrights                     430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’             Product Liability                                                     830 Patent                         450 Commerce
   152 Recovery of Defaulted                Liability                 368 Asbestos Personal                                                     840 Trademark                      460 Deportation
       Student Loans                   340 Marine                         Injury Product                                                                                           470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product                 Liability                                LABOR                        SOCIAL SECURITY                        Corrupt Organizations
   153 Recovery of                          Liability                PERSONAL PROPERTY                   710 Fair Labor Standards               861 HIA (1395ff)                   480 Consumer Credit
      Veteran’s Benefits              350 Motor Vehicle              370 Other Fraud                         Act                               862 Black Lung (923)               490 Cable/Sat TV
   160 Stockholders’ Suits             355 Motor Vehicle              371 Truth in Lending               720 Labor/Management                   863 DIWC/DIWW (405(g))             850 Securities/Commodities/
   190 Other Contract                      Product Liability          380 Other Personal                      Relations                         864 SSID Title XVI                     Exchange
   195 Contract Product Liability      360 Other Personal                 Property Damage                740 Railway Labor Act                  865 RSI (405(g))                   890 Other Statutory Actions
   196 Franchise                           Injury                     385 Property Damage                751 Family and Medical                                                    891 Agricultural Acts
                                       362 Personal Injury -              Product Liability                   Leave Act                                                            893 Environmental Matters
                                           Medical Malpractice                                           790 Other Labor Litigation                                                895 Freedom of Information
       REAL PROPERTY                     CIVIL RIGHTS               PRISONER PETITIONS                   791 Employee Retirement                FEDERAL TAX SUITS                      Act
   210 Land Condemnation               440 Other Civil Rights         510 Motions to Vacate                  Income Security Act                870 Taxes (U.S. Plaintiff          896 Arbitration
   220 Foreclosure                     441 Voting                         Sentence                                                                   or Defendant)                 899 Administrative Procedure
   230 Rent Lease & Ejectment          442 Employment                 Habeas Corpus:                                                            871 IRS—Third Party                    Act/Review or Appeal of
   240 Torts to Land                   443 Housing/                   530 General                                                                    26 USC 7609                       Agency Decision
   245 Tort Product Liability              Accommodations             535 Death Penalty                                                                                            950 Constitutionality of
   290 All Other Real Property         445 Amer. w/Disabilities       540 Mandamus & Other                    IMMIGRATION                                                              State Statutes
                                           Employment                 550 Civil Rights                   462 Naturalization Application
                                       446 Amer. w/Disabilities       555 Prison Condition               463 Habeas Corpus -
                                           Other                      560 Civil Detainee -                   Alien Detainee
                                       448 Education                      Conditions of                      (Prisoner Petition)
                                                                          Confinement                    465 Other Immigration
                                                                                                             Actions

V. ORIGIN (Place an “X” in One Box Only)                                                                                                                      Multidistrict             Multidistrict
                                                                                                                           Transferred from
       1 Original          2 Removed from           3 Remanded from                      4    Reinstated or              5 Another District                  Litigation            Litigation 
         Proceeding          State Court              Appellate Court                         Reopened                          (specify)
                                                                                                                                                             7UDQVIHU                'LUHFW)LOH
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are                                VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
filing and write a brief statement of cause.)                                                    number and judge for any associated bankruptcy matter previously adjudicated by a judge of
                                                                                                 this Court. Use a separate attachment if necessary.)
28 USC § 1332(a) - tortious interference with lease
VIII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                            DEMAND $                                CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.
                                                                                                               695,160                              JURY DEMAND:                               Yes   ■      No
IX. RELATED CASE(S)                          (See instructions):

     IF ANY                                                            JUDGE          Moira Johnson                                     DOCKET NUMBER             2016 L 009874

X. This case (check one box)          Is not a refiling of a previously dismissed action                     is a refiling of case number                  previously dismissed by Judge
DATE November 10, 2016                                                 SIGNATURE OF ATTORNEY OF RECORD /s/ Christopher J. Zdarsky
                           Case: 1:16-cv-10497 Document #: 2 Filed: 11/10/16 Page 2 of 2 PageID #:17
                                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                       Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney
filing a case should complete the form as follows:

I.        (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both
name and title.

            (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the
county of residence of the "defendant" is the location of the tract of land involved.)

           (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution,
an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be
marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select the
most definitive.

V.           Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for
removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation
transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is
checked, do not check (5) above.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Previous Bankruptcy Matters For nature of suit 422 and 423 enter the case number and judge for any associated bankruptcy matter previously adjudicated
by a judge of this court. Use a separate attachment if necessary.

VIII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. Demand. In this space enter the
actual dollar amount being demanded or indicate other demand, such as a preliminary injunction Jury Demand. Check the appropriate box to indicate whether or not a
jury is being demanded.

 IX.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers and the
corresponding judge names for such cases.

X.        Refiling Information. Place an "X" in one of the two boxes indicating if the case is or is not a refilling of a previously dismissed action. If it is a refiling of a
previously dismissed action, insert the case number and judge.

             Date and Attorney Signature. Date and sign the civil cover sheet.
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